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 9                               UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11   CASEY ROBERTS, Individually and On             No. 3:19-cv-03422-SI
     Behalf Of All Other Similarly Situated
12                                                  [PROPOSED] ORDER GRANTING
                                       Plaintiff,   MOTION OF THE NEW ZEALAND
13                                                  METHODIST TRUST ASSOCIATION
              v.                                    FOR APPOINTMENT AS LEAD
14                                                  PLAINTIFF, AND APPROVAL OF
     ZUORA, INC., TIEN TZUO, and TYLER              THEIR SELECTION OF LEAD
15   SLOAT,                                         COUNSEL
16                                  Defendants.     Date:         October 4, 2019
                                                    Time:         10:00 a.m.
17                                                  Courtroom:    1, 17th Floor
                                                    Judge:        Hon. Susan Illston
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                                                    ORAL ARGUMENT REQUESTED
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 1            Having considered the motion of the New Zealand Methodist Trust Association (“Movant” or

 2   “MTA”) for entry of an Order: (1) appointing MTA as lead plaintiff in this action pursuant to the

 3   Private Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §78u-4, et seq., and (2)

 4   approving MTA’s selection of the law firm of Hagens Berman Sobol Shapiro LLP (“Hagens

 5   Berman”) as lead counsel, and with good cause appearing therefor, IT IS HEREBY ORDERED

 6   THAT:

 7            1.       The Court hereby appoints the New Zealand Methodist Trust Association as Lead

 8   Plaintiff in this action. MTA satisfies the requirements for lead plaintiff appointment under the

 9   Securities Exchange Act of 1934 (the “Exchange Act”), as amended by the Private Securities

10   Litigation Reform Act;

11            2.       Lead Plaintiff has selected and retained Hagens Berman Sobol Shapiro LLP as Lead

12   Counsel, and the Court approves Lead Plaintiff’s selection;

13            3.       Lead Counsel shall have the following responsibilities and duties:

14                     a.     to coordinate the briefing and argument of motions;

15                     b.     to coordinate the conduct of discovery proceedings;

16                     c.     to coordinate the examination of witnesses in depositions;

17                     d.     to coordinate the selection of counsel to act as a spokesperson at pretrial

18            conferences;
19                     e.     to call meetings of the plaintiffs’ counsel as they deem necessary and

20            appropriate from time to time;

21                     f.     to coordinate all settlement negotiations with counsel for defendants;

22                     g.     to coordinate and direct the pretrial discovery proceedings and the preparation

23            for trial and the trial of this matter and to delegate work responsibilities to selected counsel as

24            may be required; and

25                     h.     to supervise any other matters concerning the prosecution, resolution or

26            settlement of this action.
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     [PROPOSED] ORDER GRANTING NEW ZEALAND METHODIST TRUST ASSO. MOTION FOR
     APPT. AS LEAD PL., AND APPROVAL OF SELECTION OF LEAD COUNSEL                                            -1
     Case No.: 3:19-cv-03422-SI
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 1            4.       No motion, request for discovery, or other pretrial proceedings shall be initiated or

 2   filed by any plaintiffs without the approval of Lead Counsel, so as to prevent duplicative pleadings

 3   or discovery by plaintiffs. No settlement negotiations shall be conducted without the approval of

 4   Lead Counsel;

 5            5.       Lead Counsel shall have the responsibility of receiving and disseminating Court

 6   orders and notices;

 7            6.       Defendants may effect service of papers on plaintiffs by filing such papers with the

 8   Court’s CM/ECF system.

 9                     IT IS SO ORDERED.

10      DATED: __________, 2019
                                                 THE HONORABLE SUSAN ILLSTON
11                                               UNITED STATES DISTRICT JUDGE
12
      August 13, 2019
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      Respectfully submitted,
14
      /s/ Danielle Smith
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16    Reed R. Kathrein (139304)
      Lucas E. Gilmore (250893)
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      Attorneys for [Proposed] Lead Plaintiff
26    New Zealand Methodist Trust Association
27

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     [PROPOSED] ORDER GRANTING NEW ZEALAND METHODIST TRUST ASSO. MOTION FOR
     APPT. AS LEAD PL., AND APPROVAL OF SELECTION OF LEAD COUNSEL                                              -2
     Case No.: 3:19-cv-03422-SI
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